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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                      ENTERED
                            UNITED STATES DISTRICT COURT                              May 13, 2025
                             SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


IEISHA MASS,                            §
                                        §
         Plaintiff,                     §
                                        §
VS.                                     §            CIVIL ACTION NO. 4:24-CV-4834
                                        §
WELLS FARGO BANK, NA as Trustee for §
OPTION ONE MORTGAGE LOAN                §
TRUST 2005-4, PHH MORTGAGE              §
CORPORATION its/their successors and/or §
assigns, and GLEANNLOCH FARMS           §
COMMUNITY ASSOCIATION, INC.,            §
                                        §
         Defendants.                    §


                                     FINAL JUDGMENT

       Plaintiff Iesha Mass brought this suit against Defendants PHH Mortgage Corporation,

Gleannloch Farms Community Association, Inc. and Wells Fargo Bank, National Association as

Trustee for Option One Mortgage Loan Trust 2005-4 in Texas state court, and Defendants PHH

Mortgage Corporation and Wells Fargo Bank removed it to this Court. ECF No. 1. Defendants

PHH Mortgage Corporation and Wells Fargo Bank moved to dismiss Plaintiff’s First Amended

Complaint. ECF No. 9. At a March 10, 2025 hearing, the Court granted Defendant’s Supplemental

Motion to Dismiss and dismissed Plaintiff’s First Amended Complaint with prejudice.

       On May 12, 2025, Plaintiff filed a Proposed Order to Dismiss Without Prejudice seeking

to dismiss the case in its entirety, without prejudice. ECF No. 15. Since the claims against

Defendants PHH Mortgage Corporation and Wells Fargo Bank were previously dismissed with

prejudice, the Court now dismisses Defendant Gleannloch Farms Community Association, Inc.

without prejudice in accordance with Plaintiff’s request.
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       Pursuant to Federal Rule of Civil Procedure 58(a), and for the reasons set forth at the

hearing, final judgment is hereby ENTERED for Defendants PHH Mortgage Corporation and

Wells Fargo Bank, National Association as Trustee for Option One Mortgage Loan Trust 2005-4.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas on this the 12th day of May, 2025.




                                                  _______________________________
                                                  KEITH P. ELLISON
                                                  UNITED STATES DISTRICT JUDGE
